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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

  SECURITIES AND EXCHANGE                          §
  COMMISSION,                                      §
                                                   §
                       Plaintiff                   §
  v.                                               §
                                                   §
  KEVIN G. WHITE, KGW CAPITAL                      §   Civil Action No. 4:13-CV-00383
  MANAGEMENT, LLC, REVELATION                      §   Judge Mazzant
  FOREX FUND, L.P., and RFF GP LLC,                §
                                                   §
                        Defendants,
                                                   §
  and                                              §
                                                   §
  MERIDIAN PROPANE, L.P., and                      §
  W CORPORATE REAL ESTATE L.P. d/b/a               §
  KGW REAL ESTATE,                                 §
                                                   §
                        Relief Defendants.         §


                                              ORDER

         Pending before the Court is Petition No. 27, Receiver’s Petition to Approve Final

  Accounting, Approve Final Distribution, Approve Final Fees and Expenses, and to Close

  Receivership (Dkt. #179). After considering the relevant pleadings and the lack of any response

  or objection to the Petition, the Court finds that the Petition should be GRANTED.

         1) It is therefore ORDERED that the Receiver’s Final Report, attached to Petition No. 27 as

             Exhibit A (Dkt. #179 at Ex. A), is hereby approved.

         2) It is further ORDERED that the Receiver’s Final Accounting, attached to Petition No. 27

             as Exhibit B (Dkt. #179 at Ex. B), is hereby approved.

         3) It is further ORDERED that the Receiver is hereby authorized to make a final distribution

             to approved claimants in the total amount of $65,000 as listed on Exhibit C to Petition

             No. 27 (Dkt. #179 at Ex. C).
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        4) It is further ORDERED that the Receiver is hereby authorized to pay from the

           Receivership Assets the final administrative expenses, as listed in Exhibits D and E to

           Petition No. 27 (Dkt. #179 at Exs. D, E).

        5) It is further ORDERED that the Receiver is authorized to file with the Internal Revenue

           Service or any governmental agency any tax returns or compliance documents that

           may be requested.

        6) It is further ORDERED that the Receiver is authorized to retain the books and records of

           the Receivership necessary to support the tax returns filed by the Receiver for a

           period of four years and thereafter destroy the books and records of the Receivership.

        7) It is further ORDERED that the Receiver is authorized to destroy all books and records of

           the Receivership, not necessary to support the tax returns filed by the Receiver after

           120 days from the date of this Order.

        8) It is further ORDERED that upon the Receiver filing with the Court a Closing Declaration

           that items 1 through 4 have been completed, the Receiver’s bond, if any, is hereby

           released and the Receiver and his employees, agents, attorneys and assistants shall be

           released and exonerated from any and all further liability to this receivership estate or

           to the Receivership Entities or to their creditors, claimants, beneficiaries, or owners.

        9) It is further ORDERED that all persons are hereby enjoined from commencing or

           prosecuting, without leave of this Court, any action against the Receiver or his agents

           in connection with or arising out of the Receiver’s service to this Court in this

           Receivership.

        10) It is further ORDERED that the Court hereby retains jurisdiction for the purpose of

           enforcing the above injunctive relief.




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           IT IS SO ORDERED.
           SIGNED this 29th day of September, 2016.




                                     ___________________________________
                                     AMOS L. MAZZANT
                                     UNITED STATES DISTRICT JUDGE




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